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 1                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF GEORGIA
 2                                     ATLANTA DIVISION
 3

 4   UNITED STATES OF AMERICA,                      ) Indictment No.: 1:22-CR-00207
                                                    )
 5                                                  )
            vs.                                     ) SENTENCING MEMORANDUM
 6                                                  )
     DION HAYES,                                    )
 7
                                                    )
                    Defendant.                      )
 8
                                                    )
                                                    )
 9

10          COMES NOW, the Defendant, Dion Hayes, by and through his attorneys of record, and files
11
     this memorandum in support of his sentencing position. Mr. Hayes hereby moves this Honorable
12
     Court for a downward departure and/or a variance below his otherwise advisory guideline
13
     imprisonment range and in support of a reasonable sentence which is no greater than necessary to
14

15   comply with the purposes of sentencing enumerated in 18 U.S.C. § 3553(a)(2).

16                                            INTRODUCTION
17          The above-referenced indictment charged defendant Dion Hayes with one count of Failure to
18
     Surrender for Service of Sentence, in violation of 18 U.S.C. § 3146(a)(2). On March 10, 2020, Mr.
19
     Hayes was criminally indicted in the Northern District of Georgia for possessing a firearm as a
20

21
     convicted felon, in violation of 18 U.S.C. 922(g). On February 1, 2022, Mr. Hayes’ probation was

22   revoked and he was sentenced to six months in BOP custody followed by a two-year term of
23   supervised release. He was thereafter instructed to turn himself in at FCI McDowell Camp in West
24
     Virginia on April 12, 2022. Mr. Hayes failed to appear on that day.
25
            On May 4, 2022, Mr. Hayes was arrested by ATF agents in Detroit, Michigan, and he has
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27
     been in continuous custody since that time. Mr. Hayes has now spent almost one year in custody.

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 1          Though Mr. Hayes’ failure to appear is a clear violation of the law, it is one that is contained

 2   in scope and that Mr. Hayes is deeply remorseful of. On February 13, 2023, Mr. Hayes entered into a
 3
     plea agreement, containing a joint recommendation. Specifically, the parties are jointly
 4
     recommending that Mr. Hayes be sentenced to six (6) months imprisonment. Defendant Hayes
 5
     respectfully requests that this Court accept the joint recommendation of the parties.
 6

 7                                             LEGAL ANALYSIS

 8          As this Court is fully aware, the United States Supreme Court made the sentencing
 9
     guidelines advisory by invalidating the statutory provision that otherwise makes them mandatory
10
     (18 U.S.C. § 3553(b)) and severing the provision from the remainder of the statute. See United
11
     States vs. Booker, 543 U.S. 220 (2005).
12

13      The Court is directed to look to certain factors in determining a sentence under 18 U.S.C. §

14   3553(a). Some of those factors include the history and characteristics of the defendant (18 U.S.C. §
15
     3553(a)(1)), the need for the sentence imposed to reflect the seriousness of the offense, to promote
16
     respect for the law, to provide just punishment for the offense and to afford adequate deterrence to
17
     criminal conduct (18 U.S.C. § 3553 (a)(2)(A) and (B)), and the need to avoid unwarranted sentence
18

19   disparities among similarly situated defendants (18 U.S.C. § 3553(a)(6)). This Court has previously

20   been made aware of the details of Mr. Hayes’ life, and the circumstances which lead him to where he
21
     is today. The following is a brief summary of Mr. Hayes’ personal history and characteristics, and
22
     counsel will address other relevant factors in court.
23
        18 U.S.C. § 3553(a)(1): The Personal History and Characteristics of Defendant Hayes
24

25      Mr. Dion Hayes was born in Detroit, Michigan to a single mother. At an early age, though he was

26   a bright young man who was involved in school sports, Dion found himself part of a “bad crowd,” as
27   his mother says. At 15, he was arrested and convicted of carjacking and weapons charges and sent to
28



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 1   an adult prison where he spent six years. Over those six years, Dion’s family kept in constant contact

 2   with him, and his support system remained strong, despite the distance.
 3
        By the time he finished his sentence, Dion knew he wanted to seriously pursue a career in music.
 4
     Upon release, he dedicated himself to music, and spent a lot of time in studios, writing and recording
 5
     music. In 2019, he was noticed by an established musical artist, Mario Giden, who signed Dion to his
 6

 7   joint venture label. Later that year, Dion was signed by Interscope, where his success continued to

 8   grow.
 9
        Dion is now twenty-seven years old and has two young children who he supports financially – a
10
     three-year-old boy and a one-year-old girl. Dion also financially supports his mother, who remains
11
     his closest ally and confidant. Dion dreams of using his success to impact the kids of Detroit – those
12

13   who, like him, were incarcerated or had incarcerated parents.

14      Despite his success and aspirations, Dion has struggled with mental health and substance abuse
15
     issues – a fact which has previously been addressed before this Court. His continued problems with
16
     substance abuse contributed to the behavior underlying the present case. Additional details regarding
17
     the bizarre actions and filings related to this matter will be further explained at the time of sentencing.
18

19      For years, he has used substances as a means of avoiding the jarring and dichotomous realities of

20   his life – that he is a young man who grew up in a socioeconomically depressed area, who spent most
21
     of his young life imprisoned, without family guidance or schooling, and who, against all odds,
22
     became successful. With such success, Dion came to face new types of difficulties – namely,
23
     remaining clear-headed, focused, and free from external influences and bad actors. Such jarring life
24

25   changes have impacted him in ways he is only beginning to understand.

26      In the year he has spent incarcerated thus far, he has been able to clear his mind and re-dedicate
27   himself to his future. However, we ask this Court to acknowledge that growth is not always linear,
28



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 1   and to respectfully consider the entirety of Mr. Hayes’ life when making this sentencing

 2   determination.
 3
                                               CONCLUSION
 4
            Based on the above, defendant Hayes respectfully requests that this Court accept the joint
 5
     recommendation in this case.
 6

 7

 8          Respectfully submitted,
 9

10                                                              s/Drew Findling______________
                                                                Drew Findling
11                                                              Georgia Bar No. 260425
12
                                                                s/Marissa Goldberg____________
13                                                              Marissa Goldberg
                                                                Georgia Bar No. 672798
14
     The Findling Law Firm
15
     3575 Piedmont Rd NE.
16   Tower 15, Suite 1010
     Atlanta, Georgia 30305
17   (404) 460-4500
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 7
                                                     )
                    Defendant.                       )
 8
                                                     )
                                                     )
 9

10                                     CERTIFICATE OF SERVICE
11
            This is to certify that I have this day served counsel for the opposing party in the foregoing
12
     matter with a copy of the within and foregoing Motion:
13

14
     SENTENCING MEMORANDUM
15
     By electronic service:
16
                    Assistant United States Attorney Erin Spritzer
17                  U.S. Attorney's Office - ATL
18

19   This 21st day of April, 2023
20                                                                        Respectfully Submitted,
21

22                                                                        s/Marissa Goldberg
                                                                          Marissa Goldberg
23                                                                        Georgia Bar No. 672798
24

25

26

27

28



                                           SENTENCING MEMORANDUM
